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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


    In re:
                                                         Case No.: 6:22-bk-01989-TPG
    CTCW-Waterford East LLC,                             CHAPTER 11
                                                         SUBCHAPTER V
              Debtor.
                                                     /

                CREDITORS’ MOTION FOR RELIEF FROM AUTOMATIC STAY

             CED CAPITAL HOLDINGS X, LTD. (“CED”) and SAS Waterford East Managers, LLC

(“SAS” and together with CED, “Creditors”), parties-in-interest and creditors, hereby move this

Court pursuant to 11 U.S.C. §§ 105 and 362, and in compliance with Rules 4001, 9013, and 9014

of the Federal Rules of Bankruptcy Procedure (“FRBP”), as well as Local Rule 4001-1 and 9013-

1, for the entry of an order lifting the automatic stay in this Chapter 11 case in conjunction with a

contemporaneously-filed Motion to Remand the Adversary Proceeding (“Motion to Remand”).

             In addition to this motion and the Motion to Remand, Plaintiffs have also filed a Motion to

Dismiss Debtor’s Chapter 11 Bankruptcy Petition (“Motion to Dismiss,” and together with the

instant motion and the Motion to Remand, collectively the “Motions”). If the Court does not grant

the Plaintiffs’ Motion to Dismiss, Plaintiffs alternatively request that the Court remand the

Adversary Proceeding to state court and modify the automatic stay to allow the state court to

proceed without further delay. Creditors also request the Court set the Motions together for an

omnibus hearing because they relate to the same subject matter and involve the same parties. 1




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  None of these three Motions fall under the Negative Notice Procedure set by Local Rule 2002-
4. See U.S. Bankr. Ct. M.D. Fla. Negative Notice List, effective May 2, 2022 (available at
http://www.flmb.uscourts.gov/negativenotice/list.pdf?rnd=1).
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I.     BACKGROUND

       Creditors adopt by reference, as if fully set forth herein, the Background recited in the

Motion to Dismiss. [See ECF 43 at 2-8] Capitalized terms also have the same meaning as those

terms used in the Motion to Dismiss. Id.

II.    ARGUMENT

       “The purpose of Chapter 11 reorganization ‘is to restructure a business’s finances so that

it may continue to operate, provide its employees with jobs, pay its creditors, and produce a return

for its stockholders.’” In re Cedar Shore Resort, Inc., 235 F.3d 375, 379 (8th Cir. 2000) (quoting

H.R. Rep. No. 595 (1975), reprinted in 1978 U.S.C.C.A.N. 6179) (emphasis added); see also In

re Double W Enterprises, Inc., 240 B.R. 450, 453-54 (Bankr. M.D. Fla. 1999) (same, and noting

there must be “an arguable relation between the proposed reorganization and the purposes of

Chapter 11.” (internal citations omitted)).

       The Court is empowered to lift the automatic stay based on its statutory (11 U.S.C. §

362(d)(1)) and inherent authority (11 U.S.C. § 105). Section 362(d)(1) of the Bankruptcy Code

provides that,

                 [o]n request of a party in interest and after notice and a hearing, the court
                 shall grant relief from the stay provided under subsection (a) of this section,
                 such as by terminating, annulling, modifying, or conditioning such stay –

                        (1) for cause, including the lack of adequate protection of an interest
                        in property of such party in interest; . . .

11 U.S.C. § 362(d)(1); see also In re All Denominational New Church, 268 B.R. 536, 538 (B.A.P.

8th Cir. 2001) (noting bankruptcy courts possess “equitable powers to reach an appropriate result

in individual cases.”). Whether cause exists “must be decided on a case-by-case basis.” In re

Murray Indus., Inc., 121 B.R. 635, 636-37 (Bankr. M.D. Fla. 1990).




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       Allowing a matter to proceed to another forum may constitute “cause” to lift the stay. Id.

(citing In re Valley Kitchens, Inc., 58 B.R. 6 (Bankr. S.D. Ohio 1985); In re Towner Petroleum

Co., 48 B.R. 182 (Bankr. W.D. Oka. 1985)). “Whether to grant relief from the stay to allow

litigation to continue in another forum is within the sound discretion of the Bankruptcy Court.”

Id. (citing In re Castlerock Properties, 781 F.2d 159 (9th Cir. 1986)). “In determining whether to

lift the automatic stay, the courts have generally considered the prejudice to the debtor's

reorganization efforts, conservation of judicial resources, and prejudice to the movant.” Id. (citing

In re Holtkamp, 669 F.2d 505 (7th Cir.1981); In re UNR Industries, Inc., 54 B.R. 263 (Bankr.

M.D. Ill.1985)).

       Where the stayed non-bankruptcy litigation has reached an advanced stage, courts have

shown a willingness to lift the stay to allow the litigation to proceed. See e.g., In re Martin, 542

B.R. 199, 203 (B.A.P. 6th Cir. 2015) (noting advanced stage of discovery); In re Murray Indus.,

121 B.R. at 637 (“This litigation has been proceeding for an extended period of time; to force the

Movant to duplicate all of its efforts in the bankruptcy court is both unfair and wasteful.”); In re

Kaufman, 98 B.R. 214, 215 (Bankr.E.D.Pa.1989) (noting advanced stage of the litigation); In re

R.J. Groover Const., L.L.C., 411 B.R. 460, 464 (Bankr. S.D. Ga. 2008) (finding cause to lift stay

where prepetition litigation pending for almost 3 years and discovery nearly complete); cf. In re

Sonnax Indus., 907 F.2d 1280, 1287 (2d Cir.1990) (declining to lift stay in part because “the

litigation in state court has not progressed even to the discovery stage.”); In re Collins, 118 B.R.

35 (Bankr. D. Md. 1990) (same).

       Here, cause exists to lift the automatic stay to allow the Waterford Litigation to proceed.

First, allowing the state court litigation to continue will both preserve judicial resources and avoid

unnecessary prejudice to CED and SAS. The Waterford Litigation is in an advanced stage and it




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would be wasteful and judicially inefficient to have this Court assume the litigation at this point in

the proceedings. The Debtor filed its Petition one business day before the damages trial was set

to begin. The case has been pending for three (3) years; discovery is complete; and the Trial Court

has substantial and in-depth history with the dispute. As this Court rightfully noted in In re

Murray:

               [T]o begin this litigation anew in this bankruptcy court would result in more
               of a hardship to the Movant and would certainly result in a waste of judicial
               resources. This litigation has been proceeding for an extended period of
               time; to force the Movant to duplicate all of its efforts in the bankruptcy
               court is both unfair and wasteful.

121 B.R. at 637.

       Second, allowing the Waterford Litigation to continue in the Trial Court will not harm the

Debtor or its purported reorganization efforts. The Debtor’s intentions by filing the Petition are

questionable, at best, and the bankruptcy should be dismissed for the reasons identified in the

Motion to Dismiss. In re Southside Church of Christ of Jacksonville, Inc., 572 B.R. 384, 389

(Bankr. M.D. Fla. 2017) (“[t]he filing of a bankruptcy petition in bad faith constitutes ‘cause’ to

lift the stay pursuant to § 362(d)(1)”) (citing In re Phoenix Piccadilly, Ltd., 849 F.2d 1393, 1394

(11th Cir. 1988)). As that analysis shows, there does not appear to be any valid purpose for Debtor

to have filed the Chapter 11 Petition; instead, it appears Debtor filed the Petition merely to impose

the automatic stay and to delay the imminent damages trial, and/or to forum shop, because it has

received unfavorable outcomes in the State Court Action and the Berkshire Litigation to date.

III.   CONCLUSION

       For the reasons above, Creditors respectfully request the Court modify the automatic stay

to allow the continued prosecution of the State Court Action through final judgment, and that any




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awards resulting from the judgment will be handled in the normal course of the bankruptcy

administration process.

Dated: June 29, 2022                            Respectfully submitted,

                                                s/ Justin H. Jenkins

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 29, 2022, a true and correct copy of the foregoing

document has been served by electronic mail to all counsel of record.

Dated: June 29, 2022

                                                    s/ Justin H. Jenkins
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